                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                               Plaintiff,

          v.                                                Case No.

VIRIDIANA ALVA,

                               Defendant.



                                      PLEA AGREEMENT


         1.       The United States of America, by its attorneys, Richard G. Frohling, United

States Attorney for the Eastern District of Wisconsin, and Farris Martini, Assistant United

States Attorney, and the defendant, Viridiana Alva, individually and by attorney Jason D.

Baltz, pursuant to Rule 11 of the Federal Rules of Criminal Procedure, enter into the

following plea agreement:

                                            CHARGE

         2.       The defendant has been charged in a single-count Information, which alleges

a violation of Title 18, United States Code, Section 656.

         3.       The defendant has read and fully understands the charge contained in the

Information. She fully understands the nature and elements of the crime with which she has

been charged, and the charge and the terms and conditions of the plea agreement have been

fully explained to her by her attorney.

         4.       The defendant voluntarily agrees to waive prosecution by indictment in open

court.



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      5.        The defendant voluntarily agrees to plead guilty to the count set forth in full

as follows:

        THE UNITED STATES ATTORNEY CHARGES THAT:
        Between on or about March 8, 2019, and October 11, 2019, in the State and Eastern
 District of Wisconsin,
                                    VIRIDIANA ALVA,
 being an agent and employee of BMO Harris Bank N.A., a financial institution with
 deposits insured by the Federal Deposit Insurance Corporation, with intent to injure and
 defraud, embezzled and willfully misapplied approximately $94,500 of the moneys and
 funds of BMO Harris Bank, in that the defendant stole money from the institution’s cash
 reserves.
        In violation of Title 18, United States Code, Section 656.


      6.        The defendant acknowledges, understands, and agrees that she is, in fact,

guilty of the offense described in paragraph 5. The parties acknowledge and understand that

if this case were to proceed to trial, the government would be able to prove the following

facts beyond a reasonable doubt. The defendant admits that these facts are true and correct

and establish her guilt beyond a reasonable doubt:

        At all relevant times, Viridiana Alva, the defendant, was employed as the sole Service Manager
at a BMO Harris Bank branch located on W National Avenue in Milwaukee, Wisconsin. In this role,
Alva was responsible for overseeing the branch’s operations and customer service, as well as balance and
audit reports. BMO Harris Bank N.A. is a financial institution with deposits insured by the Federal
Deposit Insurance Corporation.

        In November 2019, while Alva was on leave, the branch manager sought to transfer money to
the branch’s vault from two cash dispensers, which are essentially mini-vaults located near the teller
lines. Bank logs indicated that each dispenser contained more than $120,000 in cash. When the branch
manager opened the dispensers, however, she found them nearly empty. A cash audit confirmed that the
bank was missing $261,408 from the cash dispensers.

         According to bank records, on or about March 8, June 5, and October 11, 2019, Alva processed
three separate transactions purporting to transfer cash from the branch vault to a cash dispenser. She
completed balance reports, cash out/in tickets, and other record entries to facilitate these transfers.

         The cash dispensers cannot be loaded unless they are physically opened. Two different bank
employees must input unique key codes to accomplish this task, and these events are logged. Key code
logs showed that the dispenser in question was not opened at any time on the dates that Alva purported
to transfer cash from the vault to the dispenser. Combining these three incidents, Alva removed $94,500


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in bank funds from the vault. Rather than place the money in a cash dispenser, Alva willfully
embezzled and stole the cash, with the intent to injure and defraud the bank.

        Alva’s embezzlement was not limited to these three instances. Consistent with her role and
access, Alva’s credentials appear in cash dispenser logs and other relevant documentation throughout
2017 and 2018. She attempted to conceal her activity by falsifying bank records. For instance, in late
October 2019, before the theft was uncovered, Alva and a new employee opened both cash dispensers
and removed the cassettes, which hold the cash. Video surveillance footage showed Alva transferring
cash from the cassettes to the vault. When she was finished, Alva reported the dispensers’ balances as
approximately $142,000 and $120,000. In fact, as Alva well knew, the cassettes were nearly empty
when Alva returned them to the dispensers. In total, Alva embezzled $261,408 from BMO Harris
Bank.

        This information is provided for the purpose of setting forth a factual basis for the

plea of guilty. It is not a full recitation of the defendant’s knowledge of, or participation in,

the charged offense.

                                            PENALTIES

       7.       The parties understand and agree that the offense to which the defendant will

enter a plea of guilty carries the following maximum term of imprisonment and fine: 30

years and $1 million. The charge also carries a mandatory special assessment of $100, and a

maximum of 5 years of supervised release. The parties further recognize that a restitution

order may be entered by the court. The parties’ acknowledgments, understandings, and

agreements with regard to restitution are set forth in paragraph 28 of this agreement.

       8.       The defendant acknowledges, understands, and agrees that she has discussed

the relevant statutes as well as the applicable sentencing guidelines with her attorney.

                                             ELEMENTS

       9.       The parties understand and agree that in order to sustain the charge of

embezzlement by an employee of a federally insured bank, as set forth in the Information,

the government must prove each of the following propositions beyond a reasonable doubt:

        First, the defendant was an officer, director, agent, employee, or connected in any
        capacity with a financial institution;
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       Second, the institution was covered under the statute (here, insured by the FDIC);

       Third, the defendant embezzled or willfully misapplied moneys, funds, assets,
       securities, or credits belonging to or entrusted to the custody or care of the bank;

       Fourth, the defendant acted with intent to injure or defraud the bank; and

       Fifth, for a felony offense, the amount embezzled or misapplied exceeded $1,000.

                               SENTENCING PROVISIONS

     10.      The parties agree to waive the time limits in Fed. R. Crim. P. 32 relating to

the presentence report, including that the presentence report be disclosed not less than 35

days before the sentencing hearing, in favor of a schedule for disclosure, and the filing of

any objections, to be established by the court at the change of plea hearing.

     11.      The parties acknowledge, understand, and agree that any sentence imposed

by the court will be pursuant to the Sentencing Reform Act, and that the court will give due

regard to the Sentencing Guidelines when sentencing the defendant.

     12.      The defendant acknowledges and agrees that her attorney has discussed the

applicable sentencing guidelines provisions with her to the defendant’s satisfaction.

     13.      The parties acknowledge and understand that prior to sentencing the United

States Probation Office will conduct its own investigation of the defendant’s criminal

history. The parties further acknowledge and understand that, at the time the defendant

enters a guilty plea, the parties may not have full and complete information regarding the

defendant’s criminal history. The parties acknowledge, understand, and agree that the

defendant may not move to withdraw the guilty plea solely as a result of the sentencing

court’s determination of the defendant’s criminal history.




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                            Sentencing Guidelines Calculations

     14.      The defendant acknowledges and understands that the sentencing guidelines

recommendations contained in this agreement do not create any right to be sentenced

within any particular sentence range, and that the court may impose a reasonable sentence

above or below the guideline range. The parties further understand and agree that if the

defendant has provided false, incomplete, or inaccurate information that affects the

calculations, the government is not bound to make the recommendations contained in this

agreement.

                                      Relevant Conduct

     15.      The parties acknowledge, understand, and agree that pursuant to Sentencing

Guidelines Manual § 1B1.3, the sentencing judge may consider relevant conduct in

calculating the sentencing guidelines range, even if the relevant conduct is not the subject of

the offense to which the defendant is pleading guilty.

                                     Base Offense Level

     16.      The parties agree to recommend to the sentencing court that the applicable

base offense level for the offense charged in the Information is 7 under Sentencing

Guidelines Manual § 2B1.1(a)(1).

                              Specific Offense Characteristics

     17.      The parties agree to recommend to the sentencing court that a 12-level

increase for loss exceeding $250,000 under Sentencing Guidelines Manual § 2B1.1(b)(1)(G)

is applicable to the offense level for the count charged in the Information. This accounts for

both offense and relevant conduct under Sentencing Guidelines Manual § 1B1.3.




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                                        Role in the Offense

         18.      Pursuant to Sentencing Guidelines Manual § 3B1.3, the parties agree to

recommend to the sentencing court that a 2-level increase be given for abuse of a position of

trust.

                                   Acceptance of Responsibility

         19.      The government agrees to recommend a two-level decrease for acceptance of

responsibility as authorized by Sentencing Guidelines Manual § 3E1.1(a), but only if the

defendant exhibits conduct consistent with the acceptance of responsibility. In addition, if

the court determines at the time of sentencing that the defendant is entitled to the two-level

reduction under § 3E1.1(a), the government agrees to make a motion recommending an

additional one-level decrease as authorized by Sentencing Guidelines Manual § 3E1.1(b)

because the defendant timely notified authorities of her intention to enter a plea of guilty.

                                   Sentencing Recommendations

         20.      Both parties reserve the right to provide the district court and the probation

office with any and all information which might be pertinent to the sentencing process,

including but not limited to any and all conduct related to the offense as well as any and all

matters which might constitute aggravating or mitigating sentencing factors.

         21.      Both parties reserve the right to make any recommendation regarding any

other matters not specifically addressed by this agreement.

         22.      The government agrees to recommend a sentence at the bottom of the

applicable sentencing guideline range, as determined by the court.

                              Court’s Determinations at Sentencing

         23.      The parties acknowledge, understand, and agree that neither the sentencing

court nor the United States Probation Office is a party to or bound by this agreement. The
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United States Probation Office will make its own recommendations to the sentencing court.

The sentencing court will make its own determinations regarding any and all issues relating

to the imposition of sentence and may impose any sentence authorized by law up to the

maximum penalties set forth in paragraph 7 above. The parties further understand that the

sentencing court will be guided by the sentencing guidelines but will not be bound by the

sentencing guidelines and may impose a reasonable sentence above or below the calculated

guideline range.

     24.      The parties acknowledge, understand, and agree that the defendant may not

move to withdraw the guilty plea solely as a result of the sentence imposed by the court.

                                 FINANCIAL MATTERS

     25.      The defendant acknowledges and understands that any and all financial

obligations imposed by the sentencing court are due and payable in full upon entry of the

judgment of conviction. The defendant further understands that any payment schedule

imposed by the sentencing court shall be the minimum the defendant is expected to pay and

that the government’s collection of any and all court imposed financial obligations is not

limited to the payment schedule. The defendant agrees not to request any delay or stay in

payment of any and all financial obligations. If the defendant is incarcerated, the defendant

agrees to participate in the Bureau of Prisons’ Inmate Financial Responsibility Program,

regardless of whether the court specifically directs participation or imposes a schedule of

payments.

     26.       The defendant agrees to provide to the Financial Litigation Unit (FLU) of

the United States Attorney’s Office, at least 45 days before sentencing, and also upon

request of the FLU during any period of probation or supervised release imposed by the

court, a complete and sworn financial statement on a form provided by FLU and any
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documentation required by the form. The defendant further agrees, upon request of FLU

whether made before or after sentencing, to promptly: cooperate in the identification of

assets in which the defendant has an interest, cooperate in the liquidation of any such assets,

and participate in an asset deposition.

                                         Special Assessment

     27.        The defendant agrees to pay the special assessment in the amount of $100

prior to or at the time of sentencing.

                                            Restitution

     28.        The defendant agrees to pay restitution in the amount of $261,408 to BMO

Harris Bank N.A., pursuant to 18 U.S.C. § 3663(a)(3). The defendant understands that

because restitution for the offense is mandatory, the amount of restitution shall be imposed

by the court regardless of the defendant’s financial resources. The defendant agrees to

cooperate in efforts to collect the restitution obligation. The defendant understands that

imposition or payment of restitution will not restrict or preclude the filing of any civil suit or

administrative action.

                          DEFENDANT’S WAIVER OF RIGHTS

     29.        In entering this agreement, the defendant acknowledges and understands that

she surrenders any claims she may have raised in any pretrial motion, as well as certain

rights which include the following:

           a.      If the defendant persisted in a plea of not guilty to the charges against her,
                   she would be entitled to a speedy and public trial by a court or jury. The
                   defendant has a right to a jury trial. However, in order that the trial be
                   conducted by the judge sitting without a jury, the defendant, the
                   government and the judge all must agree that the trial be conducted by the
                   judge without a jury.

           b.      If the trial is a jury trial, the jury would be composed of twelve citizens
                   selected at random. The defendant and her attorney would have a say in
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                   who the jurors would be by removing prospective jurors for cause where
                   actual bias or other disqualification is shown, or without cause by
                   exercising peremptory challenges. The jury would have to agree
                   unanimously before it could return a verdict of guilty. The court would
                   instruct the jury that the defendant is presumed innocent until such time, if
                   ever, as the government establishes guilt by competent evidence to the
                   satisfaction of the jury beyond a reasonable doubt.

           c.      If the trial is held by the judge without a jury, the judge would find the
                   facts and determine, after hearing all of the evidence, whether or not he
                   was persuaded of defendant’s guilt beyond a reasonable doubt.

           d.      At such trial, whether by a judge or a jury, the government would be
                   required to present witnesses and other evidence against the defendant.
                   The defendant would be able to confront witnesses upon whose testimony
                   the government is relying to obtain a conviction and she would have the
                   right to cross-examine those witnesses. In turn the defendant could, but is
                   not obligated to, present witnesses and other evidence on her own behalf.
                   The defendant would be entitled to compulsory process to call witnesses.

           e.      At such trial, defendant would have a privilege against self-incrimination
                   so that she could decline to testify and no inference of guilt could be
                   drawn from her refusal to testify. If defendant desired to do so, she could
                   testify on her own behalf.

     30.        The defendant acknowledges and understands that by pleading guilty she is

waiving all the rights set forth above. The defendant further acknowledges the fact that her

attorney has explained these rights to her and the consequences of her waiver of these rights.

The defendant further acknowledges that as a part of the guilty plea hearing, the court may

question the defendant under oath, on the record, and in the presence of counsel about the

offense to which the defendant intends to plead guilty. The defendant further understands

that the defendant’s answers may later be used against the defendant in a prosecution for

perjury or false statement.

     31.        The defendant acknowledges and understands that she will be adjudicated

guilty of the offense to which she will plead guilty and thereby may be deprived of certain




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rights, including but not limited to the right to vote, to hold public office, to serve on a jury,

to possess firearms, and to be employed by a federally insured financial institution.

     32.       The defendant knowingly and voluntarily waives all claims she may have

based upon the statute of limitations, the Speedy Trial Act, and the speedy trial provisions

of the Sixth Amendment. The defendant agrees that any delay between the filing of this

agreement and the entry of the defendant’s guilty plea pursuant to this agreement constitutes

excludable time under the Speedy Trial Act.

                           Further Civil or Administrative Action

     33.       The defendant acknowledges, understands, and agrees that the defendant has

discussed with her attorney and understands that nothing contained in this agreement,

including any attachment, is meant to limit the rights and authority of the United States of

America or any other state or local government to take further civil, administrative, or

regulatory action against the defendant, including but not limited to any listing and

debarment proceedings to restrict rights and opportunities of the defendant to contract with

or receive assistance, loans, and benefits from United States government agencies.

                                    GENERAL MATTERS

     34.       The parties acknowledge, understand, and agree that this agreement does not

require the government to take, or not to take, any particular position in any post-conviction

motion or appeal.

     35.       The parties acknowledge, understand, and agree that this plea agreement will

be filed and become part of the public record in this case.

     36.       The parties acknowledge, understand, and agree that the United States

Attorney’s office is free to notify any local, state, or federal agency of the defendant’s

conviction.
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     37.       The defendant understands that pursuant to the Victim and Witness

Protection Act, the Justice for All Act, and regulations promulgated thereto by the Attorney

General of the United States, the victim of a crime may make a statement describing the

impact of the offense on the victim and further may make a recommendation regarding the

sentence to be imposed. The defendant acknowledges and understands that comments and

recommendations by a victim may be different from those of the parties to this agreement.

                        Further Action by Internal Revenue Service

     38.       Nothing in this agreement shall be construed so as to limit the Internal

Revenue Service in discharging its responsibilities in connection with the collection of any

additional tax, interest, and penalties due from the defendant as a result of the defendant’s

conduct giving rise to the charges alleged in the information.

            EFFECT OF DEFENDANT’S BREACH OF PLEA AGREEMENT

     39.       The defendant acknowledges and understands if she violates any term of this

agreement at any time, engages in any further criminal activity prior to sentencing, or fails

to appear for sentencing, this agreement shall become null and void at the discretion of the

government. The defendant further acknowledges and understands that the government’s

agreement to dismiss any charge is conditional upon final resolution of this matter. If this

plea agreement is revoked or if the defendant’s conviction ultimately is overturned, then the

government retains the right to reinstate any and all dismissed charges and to file any and

all charges which were not filed because of this agreement. The defendant hereby knowingly

and voluntarily waives any defense based on the applicable statute of limitations for any

charges filed against the defendant as a result of her breach of this agreement. The defendant

understands, however, that the government may elect to proceed with the guilty plea and

sentencing. If the defendant and her attorney have signed a proffer letter in connection with
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this case, then the defendant further acknowledges and understands that she continues to be

subject to the terms of the proffer letter.

                      VOLUNTARINESS OF DEFENDANT’S PLEA

      40.       The defendant acknowledges, understands, and agrees that she will plead

guilty freely and voluntarily because she is in fact guilty. The defendant further

acknowledges and agrees that no threats, promises, representations, or other inducements

have been made, nor agreements reached, other than those set forth in this agreement, to

induce the defendant to plead guilty.




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